Case 22-00050-5-DMW         Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37              Page 1 of 40




                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                RALEIGH DIVISION

  IN RE:                                             )
                                                     )
       STEPHEN BRADLEY HALFERTY,                     ) Case No. 22-00101-5-DMW
                                                     )
       Debtor.                                       )
                                                     )
  EVER-SEAL, INC.,                                   )
                                                     )
       Plaintiff/Counter-Defendant,                  )
                                                     )
  v.
                                                     ) Adv. Proc. No. 22-00050-5-DMW
  STEPHEN BRADLEY HALFERTY, d/b/a                    )
  DURASEAL,                                          ) JURY DEMAND
                                                     )
       Defendant/Counter-Claimant.                   )



                 EVER-SEAL, INC.’S MOTION TO COMPEL DISCOVERY

         Pursuant to Rule 37(a) of the Federal Rules of Civil Procedure, Federal Rule of Bankruptcy

  Procedure 7037, and Local Rule 7007-1(a), Plaintiff Ever-Seal, Inc. (“Ever-Seal”) respectfully

  moves the Court for an order compelling Defendant Stephen Bradley Halferty to respond to

  discovery requests. In support of this Motion, Ever-Seal shows the Court as follows:

         1.      Ever-Seal served Halferty with discovery requests on July 20, 2022. (Ex. A).

         2.      Halferty served incomplete responses to the discovery requests on August 19, 2022.

         3.      Specifically, Halferty produced documents in an inaccessible form and failed to

  provide complete responses to Request Nos. 5, 8, 10, 12, 16, 17, and 22.

         4.      Ever-Seal followed up repeatedly to obtain the requested documents, but Halferty

  has not provided them to date. (See Exs. B, C, D, E).
Case 22-00050-5-DMW          Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37                 Page 2 of 40




         5.      Ever-Seal has made a good faith effort to resolve this issue without Court

  involvement but has been unable to do so.

         6.      Ever-Seal relies on the memorandum being submitted contemporaneously

  herewith.

         WHEREFORE, Ever-Seal respectfully requests that its Motion to Compel be granted; that

  Halferty be compelled to produce accessible documents and provide all responsive documents to

  Request Nos. 5, 8, 10, 12, 16, 17, and 22; that it be awarded its attorney’s fees and costs in bringing

  the motion; and that the Court grant such other relief as it deems appropriate.

         Respectfully submitted this 30th day of October, 2023.

                                                 FOX ROTHSCHILD LLP

                                                 By: /s/ Kip D. Nelson
                                                    Kip D. Nelson
                                                    N.C. State Bar No. 43848
                                                    Brian R. Anderson
                                                    N.C. State Bar No. 37989
                                                    230 N. Elm St., Suite 1200
                                                    Greensboro, NC 27401
                                                    knelson@foxrothschild.com
                                                    branderson@foxrothschild.com
                                                    Tel: (336) 378-5200

                                                     Attorneys for Ever-Seal, Inc.




                                                    2
Case 22-00050-5-DMW        Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37        Page 3 of 40




                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                RALEIGH DIVISION

  IN RE:                                             )
                                                     ) Case No. 22-00101-5-DMW
       STEPHEN BRADLEY HALFERTY,                     )
                                                     )
       Debtor.                                       )
                                                     )
  EVER-SEAL, INC.,                                   )
                                                     )
       Plaintiff/Counter-Defendant,                  )
                                                     ) Adv. Proc. No. 22-00050-5-DMW
  v.
                                                     )
  STEPHEN BRADLEY HALFERTY, d/b/a                    ) JURY DEMAND
  DURASEAL,                                          )
                                                     )
       Defendant/Counter-Claimant.                   )


                                 CERTIFICATE OF SERVICE

        I certify that on October 30, 2023, I served a copy of the foregoing EVER-SEAL,

  INC.’S MOTION TO COMPEL DISCOVERY via ECF to:

                 Garrett L. Davis, Esq.
                 Law Office of Garrett Davis
                 555 S. Magnum St., Ste. 100
                 Durham, NC 27701
                 gd@garrettdavislaw.com


                                               FOX ROTHSCHILD LLP

                                               By: /s/ Kip D. Nelson
                                                  Kip D. Nelson
                                                  N.C. State Bar No. 43848
                                                  230 N. Elm St., Suite 1200
                                                  Greensboro, NC 27401
                                                  knelson@foxrothschild.com
                                                  Tel: (336) 378-5200

                                                  Attorneys for Ever-Seal, Inc.

                                                 3
Case 22-00050-5-DMW   Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37   Page 4 of 40




                            Exhibit A
Case 22-00050-5-DMW          Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37             Page 5 of 40



                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  RALEIGH DIVISION

 In re:                                        )
                                               )
 STEPHEN BRADLEY HALFERTY,                     )      Case No. 22-00101-05-DMW
                                               )      Chapter 13
          Debtor.                              )
                                               )
                                               )
 EVER-SEAL, INC.,                              )
                                               )
          Plaintiff/Counter-Defendant,         )      Adv. Proc. No. 22-00050-5-DMW
 v.                                            )
                                               )
 STEPHEN BRADLEY HALFERTY                      )
 d/b/a DURASEAL,                               )      Jury Demand
                                               )
          Defendant/Counter-Plaintiff.         )
                                               )

                         PLAINTIFF’S SECOND SET OF REQUESTS
                    FOR PRODUCTION OF DOCUMENTS TO DEFENDANT

           Pursuant to Rule 7034 of the Federal Rules of Bankruptcy Procedure and Rule 34 of the

  Federal Rules of Civil Procedure, Plaintiff Ever-Seal, Inc. (“Ever-Seal”) hereby propounds the

  following Second Set of Requests for Production of Documents upon Defendant Stephen Bradley

  Halferty d/b/a Duraseal (“DuraSeal” or “Halferty”). These requests are to be addressed

  separately, fully, and served on the undersigned counsel by August 19, 2022. Please serve

  your responses via e-mail.

           These requests shall be deemed to be continuing to the final date of these proceedings so

  that additional information that becomes known to you prior to the final date of these proceedings

  shall be furnished to undersigned counsel immediately after such information is acquired by or

  becomes known to you, in accordance with Federal Rule of Bankruptcy Procedure 7026 and

  Federal Rule of Civil Procedure 26.



  {01965573.1 }
                                                                                         NSH 2428997.2
Case 22-00050-5-DMW          Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37                 Page 6 of 40



                                           INSTRUCTIONS

         The following definitions and instructions apply to all requests below and should be

  considered as part of each request.

         1.      You should respond to each request fully. An evasive or incomplete response will

  be considered a failure to respond.

         2.      To the fullest extent permitted under the Federal Rules of Civil Procedure, these

  requests are intended to be continuing in nature. You are requested and required to provide timely

  supplemental responses when appropriate or necessary to make your response correct and

  complete.

         3.      These requests are directed to you and also to: (a) your agents and representatives;

  (b) any other person acting on your behalf or on whose behalf you have acted; and (c) any other

  person otherwise controlled by you, or which controls you, or which is under common control with

  you. Conversely, this specific instruction shall not permit you to withhold documents that are

  otherwise responsive merely because “you” also includes, i.e., your agents. Thus, for example, if

  a request asks for documents evidencing communications between you and third parties, third

  parties also includes your agents.

         4.      It is intended that the following discovery requests will not solicit any material

  protected either by the attorney/client privilege or work product doctrine which was created by,

  or developed by, counsel for the responding party after the date on which this litigation was

  commenced. If any inquiry is susceptible of a construction that calls for the production of such

  material, that material need not be provided and no privilege log pursuant to Fed. R Civ. P. 26(b)(5)

  will be required as to such material. If a response to a request is withheld under a claim of privilege

  or other protection, produce on the date on which responses are required pursuant to these requests

  a log of the documents and/or things withheld sufficient to facilitate evaluation of the privilege or

                                                                                               NSH 2502166.2
Case 22-00050-5-DMW           Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37               Page 7 of 40



  protection claimed. Such log shall identify: (a) the document or thing to which the privilege or

  protection is alleged to apply, (b) the privilege or protection alleged, (c) the format of the

  communication, and (d) the date sent, and (e) name(s) of author(s) and recipient(s).

         5.        If any request herein is deemed objectionable, then (a) identify the portion of the

  request that is claimed to be objectionable and the nature and basis of the objection in sufficient

  fashion to permit the Court to rule on the validity of the objection; (b) identify any documents and

  things withheld pursuant to such objection with sufficient particularity and in sufficient detail to

  permit the Court to determine that such documents and things fall within the scope of such

  objection; and (c) for any portion of such request that is not claimed to be objectionable, respond

  to, identify and produce the documents and things or portions thereof which are responsive to the

  non-objectionable portion of the request.

         6.        For the purpose of interpreting or construing the scope of these requests, you are

  instructed to give words their most expansive and inclusive meanings. You should, therefore:

              a.   construe the words “and” and “or” in the disjunctive or conjunctive, as necessary

                   to make the request more inclusive;

              b.   construe the term “including” to mean “including, but not limited to;”

              c.   construe the word “any” to include and mean “each and every” and “any andall;”

              d.   construe the word “each” to include “every” as necessary to bring within the scope

                   of these requests responses that might be construed to be outside the request;

              e.   construe the plural form of a word to include the singular and vice versa;

              f.   construe a masculine pronoun, noun or adjective to include the feminine and vice

                   versa;

              g.   construe a lower case word to include the upper case, and vice-versa; and,

              h.   construe dates to be approximate.

                                                                                             NSH 2502166.2
Case 22-00050-5-DMW         Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37              Page 8 of 40




         7.      All documents that are stored in electronic or computer form shall be produced via

  email as well as in hard copy where possible. Document stored in electronic form or format of any

  kind are to be produced in their original native format, including all metadata or other electronic

  components of the information relating to or comprising such document in their entirety, including

  all information concerning the date(s) the document was created modified or distributed, and the

  author(s) and recipient(s) of the document. Documents stored in electronic form shall not be

  converted to any different form, such as paper, TIF or PDF images.

         8.      These requests are specifically intended to encompass any data or information

  maintained in any form of computer memory or on computer hard drives, diskettes or back-up

  tapes, including any word processing or spread sheet programs or electronic mail systems, or in

  any form of electronic or computer related storage, whether or not you currently have hard copy

  printouts of the same.

         9.      You are to produce each document requested herein in its entirety, with attachments

  and enclosures without deletion or excision, regardless of whether you considered the entire

  documents to be relevant or response to the requests. All pages now stapled or fastened together

  should be reproduced, stapled or fastened together, and each document that you cannot legibly

  copy should be produced in its original form. Documents not otherwise responsive to any of the

  discovery requests herein must be produced if such documents are attached to a document called

  for by these requests. Whenever a document or group of documents is removed from a file folder,

  binder, file drawer, file box, notebook, or other cover or container, a copy of the label of such

  cover or other container must be attached to the document or group of documents.

                                           DEFINITIONS

       Unless the context clearly requires otherwise, the following definitions shall apply to these

  requests and all other discovery requests in this action unless otherwise provided:

                                                                                           NSH 2502166.2
Case 22-00050-5-DMW          Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37                 Page 9 of 40




          1.      “Answer” shall mean any Answer you may file to the Complaint in this case and

  any amended Answer you may file in the future.

          2.      “Communication” means any oral or written utterance, notation, or statement of

  any nature whatsoever, by and to whomever made, including, but not limited to, correspondence,

  e-mails, text messages, social media, conversations, dialogues, discussions, interviews,

  consultations, agreements, and other understandings between and among two or more persons.

          3.      “Complaint” shall mean the verified complaint filed in this action in the U.S.

  Bankruptcy Court for the Eastern District of North Carolina on March 17, 2022, and any

  amendments thereto.

          4.      “Concerning” and “concern” mean specifically mentioning, in connection with,

  referring to, or relating to matters that are the subject of the request and, where appropriate, having

  context or content that makes it apparent that matters that are the subject of the request are shown

  or described.

          5.      “Contract” means any writing that memorializes an agreement between You and a

  third party whether fully executed or not and whether performed or not.

          6.      “Correspondence” means any form of communication, whether electronic, written,

  or verbal including letters, email, social media post, tweets, phone calls, and instant messages.

          7.      “Customer” means any person or entity to whom You sold or offered to sell

  products or services, whether you ultimately provided services or not.

          8.      “Defendant” or “Defendants” means each person or entity who has been sued in

  this case.

          9.      “Describe” shall mean to set forth with particularity all facts known that bear upon

  or are related to the matter that is the subject of the inquiry, using the simplest and most factual

  statements of which you are capable.

                                                                                               NSH 2502166.2
Case 22-00050-5-DMW           Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37                   Page 10 of
                                              40


         10.     “Document” shall, to the broadest permissible extent, have the same meaning as in

 Federal Rule of Civil Procedure 34(a)(1)(A), including without limitation, things as well as

 written, printed, typed, recorded, taped, graphic, electronically stored and/or electronically transmitted

 material and communications of any kind and from any source in any form (including but not limited to

 email and text message). A draft, annotated, or non-identical copy is a separate document within the

 meaning of this term, whether such document was transmitted, received or neither.

         11.     “DuraSeal” means any sole proprietorship or corporation associated with Halferty

 and acting under the name “DuraSeal” or “DuraSeal, Inc.”

         12.     “Employee” means any employee, independent contractor, worker, or agent current

 or formerly employed by You.

         13.     “Halferty” means you, individually and/or doing business as DuraSeal or

 DuraSeal, Inc., as well as all others acting in concert with you.

         14.     “Identify” or the “identity of” shall mean (a) with respect to a person, his, her or its

 name, last known address, telephone numbers, business affiliation and position, employer, whether

 or not such person is a practicing attorney, and such other known information as may be necessary

 to permit such person to be subpoenaed or his, her or its deposition noticed; and (b) with respect

 to a document, other writing or thing, the type of document, writing or thing; general subject

 matter; date of the document, writing or thing; author(s), addressee(s) and recipient(s); and such

 other known information as may be necessary to permit the document, writing or thing to be

 subpoenaed or its production to be requested.

         15.     “Person” or “persons” shall mean any individual, firm, partnership, joint venture,

 association, corporation, or other legal or commercial entity.

         16.     “Regarding” shall mean concerning or discussing.

         17.     “State” shall have the same meaning as describe.


                                                                                                NSH 2502166.2
Case 22-00050-5-DMW          Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37              Page 11 of
                                             40


        18.      “Thing” shall mean any tangible object other than a Document.

        19.      “You” or “your” shall mean each Defendant, his or its agents, employees,

 representatives, and/or any other persons acting, or purporting to act on your behalf or on behalf

 of “DuraSeal” or “DuraSeal, Inc.”.

        20.      All legal terms, accounting terms, and other technical terms associated with a

 particular industry, profession or identifiable body of knowledge shall have the meanings

 customarily and ordinarily associated with those terms within that industry, profession or

 discipline.

                     REQUESTS FOR PRODUCTION OF DOCUMENTS

        1.       All documents concerning DuraSeal’s creation and registration as a legal entity.

        RESPONSE:




        2.       All contracts You entered into from January 1, 2021 to present to provide services

 to customers.

        RESPONSE:




        3.       All contracts You entered into from January 1, 2021 to present to obtain, materials,

 equipment, and supplies.

        RESPONSE:




                                                                                           NSH 2502166.2
Case 22-00050-5-DMW          Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37            Page 12 of
                                             40


        4.      All contracts You entered into from January 1, 2021 with employees, independent

 contractors, or agents.

        RESPONSE:




        5.      All documents that reflect Your purchase of materials, supplies, or equipment from

 January 1, 2021 to present, including but not limited to invoices or receipts.

        RESPONSE:




        6.      All documents that reflect Your expenses for labor, employees, contractors, or

 agents from January 1, 2021 to present.

        RESPONSE:



        7.     All documents that reflect Your profits and losses report from January 1, 2021

 through present.

        RESPONSE:




        8.      All documents that reflect Your registration and use of EIN # XX-XXXXXXX.

        RESPONSE:




        9.      All documents that reflect Your registration of any other EIN # that you have

 applied for or received from January 1, 2021 to present.

        RESPONSE:
                                                                                        NSH 2502166.2
Case 22-00050-5-DMW            Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37          Page 13 of
                                               40


        10.     All documents that reflect Your appointments set up or attended from January 1,

 2021 to present, including but not limited to appointments set up through Acuity Scheduling

 Software.

        RESPONSE:




        11.     All documents sufficient to identify all of Your customers (as defined above) from

 January 1, 2021 to present.

        RESPONSE:




        12.     All documents You sent to or received from customers (as defined above) from

 January 1, 2021 to present, including but not limited to paper communications, emails, and text

 messages.

        RESPONSE:




       13.      All documents that reflect income You received from January 1, 2021 to present.

       RESPONSE:




       14.    All written presentation, sales, or other marketing materials You created or used

 from January 1, 2021 to present.

       RESPONSE:




                                                                                        NSH 2502166.2
Case 22-00050-5-DMW         Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37          Page 14 of
                                            40


       15.     All training materials You used from January 1, 2021 to present.

       RESPONSE:



       16.     All documents between You and any employee, independent contractor, or agent

related to customer contracts, bids, and proposals.

        RESPONSE:



       17.     All documents between You and any employee, independent contractor, or agent

related to Ever-Seal.

        RESPONSE:




        18.     All documents You sent or received concerning the creation and design of Your

 production trailer(s).

        RESPONSE:




        19.     All documents regarding Your plans to expand services or locations from January

 1, 2021 to present.

        RESPONSE:




                                                                                      NSH 2502166.2
Case 22-00050-5-DMW         Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37             Page 15 of
                                            40


        20.     All communications between You and Brad Periggo from January 1, 2021 to

 present that pertain to your recruitment of him to work with or for You.

        RESPONSE:




        21.     All communications between You and Tim Lucero from January 1, 2021 to present

 that pertain to your recruitment and employment of him to work with or for You.

        RESPONSE:




        22.     All communications between You and Kevin Goggins from January 1, 2021 to

 present that pertain to your recruitment and employment of him to work with or for You.

        RESPONSE:




        23.     All communications between You and any other current or former Ever-Seal

 employee, independent contractor, or worker from January 1, 2021 to present that pertains to your

 recruitment and employment of them to work with or for You.

        RESPONSE:




        24.     All documents exchanged through the Slack channel you used while working at Ever-

 Seal from January 1, 2021 to the present.

        RESPONSE:




                                                                                        NSH 2502166.2
Case 22-00050-5-DMW          Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37               Page 16 of
                                             40


        25.    All documents between you and any representative of Ever-Seal regarding your

employment agreement or potential earnings at Ever-Seal.

        RESPONSE:




        26.    All documents reflecting each misrepresentation You allege in Your Answer and

 Counterclaim.

        RESPONSE:




        27.    All documents between You and any Seal It representative, agent, or employee from

 January 1, 2021 to the present.

        RESPONSE:




        28.      All documents that reflect any loans You applied for or received from January 1,

 2021 to present, regardless of the lender.

        RESPONSE:




        29.      All tax returns that You have filed or prepared to file, including individually or on

 behalf of any business or entity you control or operate.

        RESPONSE:




                                                                                            NSH 2502166.2
Case 22-00050-5-DMW         Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37              Page 17 of
                                            40


        30.    All documents relied on in answering the Interrogatories in this case not already

 produced.

        RESPONSE:




        31.    All documents that You maintain support your claims and defenses in this case.

       RESPONSE:




        32.    All documents that You maintain support your Counterclaim and assertion that Ever-

 Seal owes you any amount of money.

       RESPONSE:




        33.    All constituting or concerning non-privileged communications You have had with

 any person concerning this lawsuit or the subject matter of this lawsuit.

       RESPONSE:




        34.    A copy of any affidavits/declarations that You have obtained in connection with this

 lawsuit.

       RESPONSE:




                                                                                          NSH 2502166.2
Case 22-00050-5-DMW   Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37         Page 18 of
                                      40


                                    Respectfully submitted,

                                    FOX ROTHSCHILD LLP

                                    By: /s/ Brian R. Anderson
                                       Brian R. Anderson
                                       N.C. State Bar No. 37989
                                       230 N. Elm St., Suite 1200
                                       Greensboro, NC 27401
                                       branderson@foxrothschild.com
                                       (336) 378-5205

                                    SPENCER FANE LLP

                                    By: /s/ Stephen J. Zralek
                                       Stephen J. Zralek
                                       TN State Bar No. 18971
                                       511 Union St., Suite 1000
                                       Nashville, TN 37219
                                       Tele: (615) 238-6305
                                       Fax: (615) 687-2763
                                       szralek@spencerfane.com
                                       (Notice of Special Appearance Filed)

                                       Breanna R. Spackler
                                       MO Bar No. 67323
                                       1000 Walnut St., Suite 1400
                                       Kansas City, MO 64106
                                       Tele: (816) 292-8487
                                       Fax: (816) 474-3216
                                       bspackler@spencerfane.com
                                       (Notice of Special Appearance Filed)

                                    Attorneys for Plaintiff




                                                                              NSH 2502166.2
Case 22-00050-5-DMW           Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37                  Page 19 of
                                              40



                                   CERTIFICATE OF SERVICE
         I certify that on July 20, 2022, I served a copy of the foregoing document via personal service and
via electronic mail to the following:

         Travis Sasser
         Sasser Law Firm
         2000 Regency Parkway, Suite 230
         Cary, NC 27518
         travis@sasserbankruptcy.com
         Counsel for Debtor




                                                 /s/ Brian R. Anderson




                                                                                                NSH 2502166.2
Case 22-00050-5-DMW   Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37   Page 20 of
                                      40




                           Exhibit B
Case 22-00050-5-DMW                  Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37                                         Page 21 of
                                                     40




                                                                                                                 BREANNA SPACKLER
                                                                                                            BSPACKLER@SPENCERFANE.COM
                                                                                                             DIRECT DIAL: (816) 292-8160

                                                             August 30, 2022
 Via Email
 Travis Sasser, Esq.
 Sasser Law Firm
 2000 Regency Parkway
 Suite 230
 Cary, N.C. 27518
 travis@sasserbankruptcy.com

          RE:      Ever-Seal, Inc. v. Halferty d/b/a DuraSeal, Adv. Proc. No. 22-00101-5-DMW
                                                                           Interrogatories and
                   Second Requests for Production

 Dear Mr. Sasser:

       We write this letter to follow up on the responses and production your client served on
 us on August 19, 2022.

    I.      Documents Received

        This letter will memorialize that you produced 572 documents to us on Friday, August
 19                                   Second Set of Requests for Production of Documents. To
 avoid any confusion, we have Bates labeled the documents ourselves, since Defendant
 produced them without any Bates labels. A copy is attached, showing that you produced what
                                    .22 Production 000172-           If you disagree that the
 attached represents a complete and accurate copy of what Defendant produced on August
 19, please notify us immediately.

         Several files you sent in response to Request #2 produce an error message whenever
 we try to access them                             hese are IMG_2580-2583, 2585-2586, 2588,
 2590-2591, 2593, 2595, 2599-2602, 2605, 2607-2607, 2611, 2615, 2618, 2623, 2629-2630,
 2633, 2639-2641, 2643-2647, 2650, 2653-2654, 2658, 2660, 2662-2664.

    II.     Incomplete or Deficient Responses


 Halferty did not fully respond to several of  requests. These deficient responses are
 discussed below. By Friday, September 2, 2022, please supplement your responses and
 produce



                S PE NC ER FANE LLP | 1 000 W ALNUT, S UITE 1400, KANSAS CITY, MO 64106 | 816.292.8160 | spencerf ane.c om
                                                                                                                               NSH 2522102.2
Case 22-00050-5-DMW          Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37                 Page 22 of
                                             40




 Travis Sasser, Esq.
 August 30, 2022
 Page 2


            a.

         Interrogatory No. 2 This interrogatory asks your client to provide specific details about
 previous complaints, lawsuits, administrative charges or proceedings, or court actions in
 which he (or his entities) has been a party. His response provides certain details, but fails to
 identify the nature of the action (i.e. claims involved), the outcome (i.e. amount of judgement
 and in whose favor), and his attorney(s) of record for each respective action.

        Interrogatory No. 4 This interrogatory asks your client to identify and provide specific
 details for each person he believes has knowledge of any fact related to the allegations of the
 Complaint regardless of whether he may call that person as a witness. The response lists
                                                                       state each allegation for

 information you believe they have which is relevant to the claims or defenses asserted in this
 lawsuit

        Interrogatory No. 5                                        dentify and describe all
 steps that you have taken to locate and identify information and documents stored in
 electronic format[
             This does not identify or describe the steps taken to search for electronic
 information and documents. For example, it does not identify which devices were collected,
                                                                           or describe how
 those searches occurred (i.e. cloud versus device, search terms versus manual, time
 parameters used, folders were searched, etc.).

         Interrogatory Nos. 9-10 These interrogatories ask your client to identify all instances
 in which: (1) You were aware that Ever-Seal had already made a bid to the same customer
 for permanent sealing services; and (2) You made a bid lower than Ever-Seal to the same
 customer for permanent sealing services. Your client claims he needs access to Ever-
 records to answer these questions. This is incorrect. Your client can and must answer these
 interrogatories based on what he presently knows based on information available to him (for
 example, his recollections, his discussions with Ever-Seal and/or DuraSeal sales
 representatives about specific projects, his review and comparison of DuraSeal files and Ever-
 Seal files apparently still in his possession, etc.). 1

 1
    In response, your client attached a spreadsheet that appears to show his scheduled Ever-Seal
 appointments during his time working for Ever-Seal. This does not answer the question posed. As sales
 manager, Mr. Halferty was aware of bids that both he and others made on behalf of Ever-Seal. The request
 is not limited to the time period during which Mr. Halferty worked for Ever-Seal. However, this is certainly
 information that Mr. Halferty could use to refresh his recollection and compare to DuraSeal files to answer
 the question propounded. Mr. Halferty can also look through his communications with Ever-Seal and

                                                                                                NSH 2522102.2
Case 22-00050-5-DMW          Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37               Page 23 of
                                             40




 Travis Sasser, Esq.
 August 30, 2022
 Page 3



            b.

        RFP No. 1        This request asks                             documents concerning
                                                                                           -page
 certificate of incorporation (that does not identify your client) and a two-page letter from
 LegalZoom informing your client that DuraSeal, Inc. has been formed in Delaware. Your client
 failed to produce any other communications with LegalZoom related to corporation formation
 or existence, any materials concerning your application for corporate formation, any bylaws,
 shareholders agreement, stock certificate, or other internal corporate documents, any forms
 filed with the IRS related to your corporate existence (such as an application for EIN), or any
 communications or notices from the Delaware Secretary of State related to your corporate
 formation or existence.
 control as the sole founder, owner, and operator of DuraSeal, Inc.

         RFP No. 2 This request asks your client to produce all contracts entered into from
 January 1, 2021 to present to provide services to customers. As discussed above, several of
 the files produced in response could not be opened. Please re-send those in an accessible
 format. In addition, please confirm that your client has produced each and every contract
 entered into during the requested time period to provide services to customers. It appears
 your client produced (or attempted to produce) approximately 88 contracts total. Is this the
 total number of jobs performed by DuraSeal (or DuraSeal, Inc.) from Jan. 2021 to date? If
 not, then please produce communications or other documents reflecting the terms of any
 agreements entered into with any other customers to provide services.

         RFP No. 4 This request asks your client to produce contracts entered into from
 January 1, 2021 with employees, independent contractors, or agents. Your client produced
 zero documents in response to this request. This is not believable. Surely your client has
 entered into contracts, whether formal or informal by way of communications, with workers
 reflecting terms such as title, responsibilities, compensation, etc.

        RFP No. 5                                                 documents that reflect Your
 purchase of materials, supplies, or equipment from January 1, 2021 to present, including but
 not limited to invoices or receipts                                       responsive to this
 request outside of those produced in response to RFP No. 3. Again, this belies reality. As
                                           profit and loss statement, DuraSeal has incurred a
 variety of expenses for office materials, vehicles/machinery/equipment, supplies, software,
 uniforms, safety equipment, etc.

 DuraSeal representatives, and any notes in DuraSeal files, to find instances of direct competition that he
 was/is aware of.

                                                                                              NSH 2522102.2
Case 22-00050-5-DMW       Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37           Page 24 of
                                          40




 Travis Sasser, Esq.
 August 30, 2022
 Page 4


 Nos. 13-14, DuraSeal utilizes certain materials, supplies, and equipment in its sealing
 process. Your client should have invoices, receipts, and/or other documents reflecting the
 purchase of such materials, supplies, and equipment (accounting or otherwise) in his
 possession, custody, or control.

        RFP No. 6                               ll documents that reflect Your expenses for labor,
 employees, contractors, or agents from January 1, 2021 to present.
 documents responsive to this request. Yet it appears your client has some responsive
 documentation available because he summarizes and totals such costs in his financial
 documents; he must have relied on some documentation to support those calculations. In
 addition, Mr. Halferty as the sole founder, owner, and operator of DuraSeal (and DuraSeal,
 Inc.) should have records of the payments he issued to his employees, contractors, and
 agents in his possession, custody, or control. For example, he attached a pay statement for
 Bailie Morlidge to his Declaration filed in the Tennessee action.

        RFP No. 8                                 ll documents that reflect Your registration and
 use of EIN # XX-XXXXXXX                                                             -NEC. The
 documents produced are largely unreadable (it appears due to scanning). Please re-send a
 more legible version. In addition, your client produced no documents related to his registration
 of the above-referenced EIN, as requested, or other use of the EIN. Please supplement your
 production to include all responsive documents
 control.

        RFP No. 10                           ll documents that reflect Your appointments set
 up or attended from January 1, 2021 to present, including but not limited to appointments set
 up through Acuity Scheduling Software.
 and DuraSeal, Inc. Your client produced no documents responsive to this request (outside
                                                                                  . 11). Surely
 your client has more records in his possession, custody, or control that reflect the
 appointments set up or attended by DuraSeal (or DuraSeal, Inc.) representatives. For
 example, this may include appointment confirmation or reminder emails, records from
 scheduling software, documentation assigning appointments out to sales representatives,
 and reports/feedback on assigned appointments.

       RFP No. 12      This request seeks    ll documents You sent to or received from
 customers (as defined above) from January 1, 2021 to present, including but not limited to
 paper communications, emails, and text messages                       s request as overly
                                                              are largely irrelevant
 ask that Ever-Seal narrow its request. The purpose of this request is to understand the
 representations made by Halferty and DuraSeal (or DuraSeal, Inc.) to customers related to

                                                                                      NSH 2522102.2
Case 22-00050-5-DMW         Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37               Page 25 of
                                            40




 Travis Sasser, Esq.
 August 30, 2022
 Page 5


 the services provided, materials used, warranty, and competition (such as Ever-Seal). These
 documents relate directly to the claims pending in this case. We are not willing to narrow this
 request, but we will work with you to determine reasonable search terms. Please provide a
 list of your proposed custodians and search terms.

        RFP No. 15                                                ll training materials You used
 from January 1, 2021 to present.                           o documents. Please confirm that
 your client used no written materials to train his employees, contractors, and/or other agents
 or representatives from January 1, 2021 to present.

        RFP No. 16                             documents between You and any employee,
 independent contractor, or agent related to customer contracts, bids, and proposals.
 response, your client produced communications from the Ever-
 Your client produced zero documents or communications between himself and any DuraSeal
 (or DuraSeal, Inc.) employee, independent contractor, or agent related to customer contracts,
 bids, and proposals. Please immediately produce such responsive documents.

        RFP No. 17                               documents between You and any employee,
 independent contractor, or agent related to Ever-Seal. Mr. Halferty produced certain text
 messages between himself and Bailie Morlidge, Kevin Goggins, or Brad Perrigo related to
 Ever-Seal. As an initial matter, these text messages do not reflect dates or the full extent of
 the relevant conversations (for example, see documents bates labeled 516-517, 519, 521). 2
 In addition, your client produced no email communications or other form of communications
 outside of text messages (including but not limited to sales appointment records or reports
 that may reference Ever-Seal). Please confirm that those sources were searched and no
 responsive documents exist.

        RFP No. 18                            documents You sent or received concerning the
 creation and design of Your production trailer(s).
 response to this request (other than perhaps a handful of text messages with Shane Foster
 produced in response to RFP No. 23). Mr. Halferty surely communicated with some person(s)
 about the creation and design of his production trailer(s), and also perhaps contracted with,
 instructed, and/or paid someone to create/design his production trailers. If not Mr. Halferty,
 then someone on behalf of DuraSeal (or DuraSeal, Inc.) engaged in those conversations as
 an agent of DuraSeal (or DuraSeal, Inc.). Accordingly, Mr. Halferty should have responsive
 documents in his possession, custody, or control. Please search for and produce those
 documents immediately.

 2
   This issue applies to many if not most of the text messages produced by Mr. Halferty. For example, the
 same issues apply to the text messages produced in response to RFPs No. 20-21. Please re-produce all
 text messages in a form that provides the date and full extent of the responsive communication.

                                                                                            NSH 2522102.2
Case 22-00050-5-DMW       Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37           Page 26 of
                                          40




 Travis Sasser, Esq.
 August 30, 2022
 Page 6



         RFP No. 22                               ll communications between You and Kevin
 Goggins from January 1, 2021 to present that pertain to your recruitment and employment of
 him to work with or for You.
 identify the sources and search parameters your client used to look for responsive documents.
 It is undisputed that Goggins went to work for DuraSeal (or DuraSeal, Inc.) shortly after he
 left Ever-Seal. It is doubtful that Mr. Halferty has zero written communications with Mr.
 Goggins related to him going to work for Halferty, DuraSeal, or DuraSeal, Inc.

          RFP No. 29                                tax returns that You have filed or prepared to
 file, including individually or on behalf of any business or entity you control or operate.
 client objected to the request as overly broad and unduly burdensome, arguing that tax returns
 prior to 2020 are irrelevant and would be challenging to procure. Your client produced
 responsive documents for the tax years 2020 and 2021. Ever-Seal agrees to accept this
 limitation for the time being.

                                  *              *             *

        Please respond to this letter on or before Friday, September 2, 2022 with the complete
 supplemental information and documentation to the interrogatories and requests identified
 above.


                                                       Sincerely,

                                                      /s/ Breanna Spackler

                                                       Breanna Spackler


 Attachments:          Halferty 8.19.22 Production 000172-000689

 cc:    Stephen Zralek, Esq.
        Brian Anderson, Esq.




                                                                                      NSH 2522102.2
Case 22-00050-5-DMW   Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37   Page 27 of
                                      40




                           Exhibit C
Case 22-00050-5-DMW    Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37   Page 28 of
                                       40




 travis@sasserbankruptcy.com

             Ever-Seal, Inc. v. Halferty d/b/a DuraSeal
Case 22-00050-5-DMW   Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37   Page 29 of
                                      40
Case 22-00050-5-DMW   Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37   Page 30 of
                                      40




         o




         o
Case 22-00050-5-DMW   Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37   Page 31 of
                                      40
Case 22-00050-5-DMW   Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37   Page 32 of
                                      40
Case 22-00050-5-DMW   Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37   Page 33 of
                                      40




                           Exhibit D
Case 22-00050-5-DMW              Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37               Page 34 of
                                                 40

  From:             Travis Sasser
  To:               Zralek, Stephen
  Cc:               Anderson, Brian R.; Spackler, Breanna
  Subject:          [EXTERNAL] Re: Ever-Seal/Halferty: written discovery deadlines postponed
  Date:             Friday, September 23, 2022 12:41:13 PM




  [Warning] This E-mail came from an External sender. Please do not open links or attachments unless you
  are sure it is trusted.


  Yes I will.
  Travis

  On Thu, Sep 22, 2022 at 5:06 PM Zralek, Stephen <szralek@spencerfane.com> wrote:

    Thanks Travis. I know we’re also agreeing to mutually postpone the deadline to
    respond to written discovery. But I know you’ve been gathering documents
    responsive to our 2 letters – will you go ahead and send us those as you receive
    them?



    Thanks,

    Stephen



    Stephen J. Zralek Partner
    Spencer Fane Bone McAllester



    511 Union Street, Suite 1000 | Nashville, TN 37219
    O 615.238.6305
    szralek@spencerfane.com | spencerfane.com | Bio




    From: Travis Sasser <travis@sasserbankruptcy.com>
    Sent: Thursday, September 22, 2022 2:19 PM
    To: Anderson, Brian R. <BRAnderson@foxrothschild.com>
    Cc: Zralek, Stephen <szralek@spencerfane.com>
    Subject: [EXTERNAL] Re: Ever-Seal/Halferty



    [Warning] This E-mail came from an External sender. Please do not open links or attachments unless
    you are sure it is trusted.
Case 22-00050-5-DMW       Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37             Page 35 of
                                          40

   Yes that is our agreement. The 2nd and 3rd attachments came through a bit unusual on my
   end. The 1st pages are fine

   but then lots of blank pages. Would you mind looking at that and perhaps resend?

   Travis



   On Thu, Sep 22, 2022 at 3:09 PM Anderson, Brian R. <BRAnderson@foxrothschild.com>
   wrote:



     Travis,



     Attached is a draft joint motion to extend deadlines and proposed order for your review.
     Please let us know if you have any suggested changes.



     I also want to confirm our agreement from yesterday that Halferty’s deposition next week
     can be cancelled and that Halferty agrees that in the unlikely even the court will not
     modify the schedule, Halferty will sit for a deposition once all documents have been
     produced. Please confirm.



     Thanks,



     Brian



     Brian R. Anderson
     Certified Specialist in Business Bankruptcy Law

     Partner
     Fox Rothschild LLP
     230 N. Elm St.

     Suite 1200
     Greensboro, NC 27401
     (336) 378-5205 - direct
     (336) 378-5400 - fax
     BRAnderson@foxrothschild.com
     www.foxrothschild.com
Case 22-00050-5-DMW          Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37              Page 36 of
                                             40




        This email contains information that may be confidential and/or privileged. If you are not
        the intended recipient, or the employee or agent authorized to receive for the intended
        recipient, you may not copy, disclose or use any contents in this email. If you have
        received this email in error, please immediately notify the sender at Fox Rothschild LLP
        by replying to this email and delete the original and reply emails. Thank you.




   --

   Travis Sasser

   Bankruptcy Attorney

   Sasser Law Firm

   2000 Regency Parkway, Suite 230

   Cary, North Carolina 27518

   Tel: 919.319.7400

   Fax: 919.657.7400

   Web site: sasserbankruptcy.com



  --
  Travis Sasser
  Bankruptcy Attorney
  Sasser Law Firm
  2000 Regency Parkway, Suite 230
  Cary, North Carolina 27518
  Tel: 919.319.7400
  Fax: 919.657.7400
  Web site: sasserbankruptcy.com
Case 22-00050-5-DMW   Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37   Page 37 of
                                      40




                           Exhibit E
Case 22-00050-5-DMW            Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37                Page 38 of
                                               40

  From:            Nelson, Kip D.
  To:              Garrett Davis
  Cc:              Placey, Sean
  Subject:         RE: [EXT] Fwd: 22-00050-5-DMW Notice of Hearing
  Date:            Tuesday, October 17, 2023 6:39:50 PM
  Attachments:     Sep. 19_ 2022 Letter re 2d RFPs-c-C.pdf


  Attached is the letter that was previously sent regarding Mr. Halferty’s responses. My
  understanding is that Mr. Sasser agreed to provide the requested supplementation but did not. Do
  you have that?

  On our end, I was planning to respond to the “Sasser” requests as the same time as the discovery
  responses (that I believe are due next week). Are you saying that you need documents before then
  for some reason?

  -Kip

  From: Garrett Davis <gd@garrettdavislaw.com>
  Sent: Tuesday, October 17, 2023 3:54 PM
  To: Nelson, Kip D. <KNelson@foxrothschild.com>
  Subject: [EXT] Fwd: 22-00050-5-DMW Notice of Hearing

  If we are going to be there on Oct 31 anyway, please send me a Rule 37 letter if you have any issues
  with the documents or interrogatory responses served in the AP before my appearance.

  Also, I'm going to file a Motion to Compel regarding the "Sasser" requests unless I hear back. Even
  though the pre-trial motion deadline is Nov 11, travel cost wise, it is more efficient to have any
  motions to compel heard on the same day (assuming they calendar it).


                                        Garrett L. Davis, Atty.
                                        555 S. Mangum St. Ste. 100
                                        Durham, NC 27701
                                        gd@garrettdavislaw.com
                                        919.321.1203




  ---------- Forwarded message ---------
  From: <NCEB_NOF@nceb.uscourts.gov>
  Date: Tue, Oct 17, 2023 at 3:39 PM
  Subject: 22-00050-5-DMW Notice of Hearing
  To: <NCEB_BNC@nceb.uscourts.gov>


  ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy
Case 22-00050-5-DMW             Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37          Page 39 of
                                                40

  permits attorneys of record and parties in a case (including pro se litigants) to receive one
  free electronic copy of all documents filed electronically, if receipt is required by law or
  directed by the filer. PACER access fees apply to all other users. To avoid later charges,
  download a copy of each document during this first viewing. However, if the referenced
  document is a transcript, the free copy and 30-page limit do not apply.

                                        U.S. Bankruptcy Court

                                   Eastern District of North Carolina

  Notice of Electronic Filing

  The following transaction was received from Donleycott, Sarah entered on 10/17/2023 at 3:37 PM
  EDT and filed on 10/17/2023
  Case Name:           Ever-Seal, Inc. v. Halferty
  Case Number:         22-00050-5-DMW
  Document Number: 90

  Docket Text:
  Notice of Hearing (related document(s): [87] Defendant's First Motion for Preliminary
  Evidence Ruling Rule of Evidence 104 filed by Garrett L Davis on behalf of Stephen Bradley
  Halferty) Hearing scheduled for 10/31/2023 at 11:00 AM at Raleigh Courtroom (3rd Floor)
  (Donleycott, Sarah)

  The following document(s) are associated with this transaction:


  22-00050-5-DMW Notice will be electronically mailed to:

  Brian R. Anderson on behalf of Counter-Defendant Ever-Seal, Inc.
  BRAnderson@foxrothschild.com, pwilliams@foxrothschild.com

  Brian R. Anderson on behalf of Plaintiff Ever-Seal, Inc.
  BRAnderson@foxrothschild.com, pwilliams@foxrothschild.com

  Garrett L Davis on behalf of Counter-Claimant Stephen Bradley Halferty
  gd@garrettdavislaw.com

  Garrett L Davis on behalf of Defendant Stephen Bradley Halferty
  gd@garrettdavislaw.com

  Kip D. Nelson on behalf of Counter-Defendant Ever-Seal, Inc.
  knelson@foxrothschild.com, kcrouch@foxrothschild.com

  Kip D. Nelson on behalf of Plaintiff Ever-Seal, Inc.
  knelson@foxrothschild.com, kcrouch@foxrothschild.com
Case 22-00050-5-DMW            Doc 99 Filed 10/30/23 Entered 10/30/23 21:36:37     Page 40 of
                                               40


  Travis Sasser on behalf of Defendant DuraSeal, Inc.
  travis@sasserbankruptcy.com,
  sasserlaw230@gmail.com;SasserTR70250@notify.bestcase.com;SasserLawFirm@jubileebk.net

  Breanna Spackler on behalf of Plaintiff Ever-Seal, Inc.
  bspackler@spencerfane.com

  Stephen J. Zralek on behalf of Plaintiff Ever-Seal, Inc.
  jtrapp@spencerfane.com

  22-00050-5-DMW Notice will not be electronically mailed to:

  Jeffrey A Batts
  103 Candlewood Rd.
  Rocky Mount, NC 27804
